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EXECUTION COPY

AssET PUnansE Acnr;alvmn'r n

-'I'H[S ASSET PURCI~IASE AGREEMENT (t.he “Ame_n_t”) is executed
this ga day of Jny, 2010 (the “closing”), by and among rcer Acquisiaons nw., a
Peonsylvania corporation (the "Bgyef’), Pre:l`erred Physicians Healthcare Alliance, L.C., \\V
a Flor:ida limited liability company (“Seller”). demrd Cabrera, M.D., an individual
residing in the state of Flori.da (“Cabrera’ , and Dianna Noecker, R.N., an individual
residing in the state of Florida (“Noecker”) (each a “Mernber” and together the
“Memhers”) join in this Agreernent for purposes of specific sections and deliveries only
as noted below. Eaeh of the above is a “party” to this Agre¢nent and all together are the
=pmi=s” herein

RECITALS

A. Seller operates a business which provides the following services:
Utilization Management, Case Management, Disease Managemllt, Health Screening,
Health Risk Apprajsal, Self Heatth Management Tools and other Wellness Programs to
Health Care Plan Plans, ’I'hird Party Administrators, Employers and Payors, Brokers and
other entities (the “B§i_n£s;s”).

B. Subject to and on the terms and conditions set forth herein, Selier
desires to sell and assign to Buyer, and Buyer desires to purchase from Seller, certain of
the assets, properlies, and rights used or held for use in the Business and to assume
certain speciiied liabilities relatedto the Business.

C. In condmGtion therewith, Selle__r and Buyer desire to take such
necessary actions so as to transfer to Buyer the assets relating to the Business, all as more
partimllarly set forth herein.

D. acme aeanedmms are set form con hamm

NOW, THEREFORE, in consideration of the mutual covenants, conditions and
agreements set forth herein, and tbr other good and valuable consideration the receipt
and suHiciency of which are hereby acknowledged the parties agree as follows intending
to-be legally bound:

1. PURCHAsE ANn M;§ or A§_s)_sTs; srssUMP'rroH on
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1.1 MM@ Subject to the terms and conditions
hereof, and in reliance upon the representations warranties and agreements set forth
herein, simultaneously with the execution and delivery of this Agree.ment, Seller hereby
sells, transfers, conveys, assigns and delivers to Buyer without any reservation of rights
and i:`ree and clear of any Liens or other encmnbrances, and Buyer hereby purchases and
acquires from Sel.ler, all rights, title and interest of Sellc:r in and to the Purehased Assets,

EXHIBIT "A"

 

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as defined below. 'l`o the extent that any rights, title or interest in any of the Purchased
Assets is held or controlled by or has vested in any parent company, subsidiary, affiliate
or predecessor of Seller (“Se]ler Parties”), Se]ler hereby sells, t.ransfers, conveys, assigns
and delivers such rights, title and interest to Buyer, with no reservation of rights by Se]ler
Parties and free and clear of any Liens or other encumbrances.

1.2 'I'he Purchased Assets. The Purchased Assets consist of
certain of the assets and properties owned, held, or controlled by Seller or Se]ler Parties
with respect to the Busines s, including, without ]imitation, the following assets and rights
existing as of the Closing (co]lectively, the “Purchased Assets”):

1.2.1 'Ihe Med Manager and Med Manager Mohile (“M__B_”) Software and all prior
versions thereof by whatever name in source code and object code/compiled code,
whether completed or as worlc 1_n_ »,rogress and including all customized versions
"“*`”" _ hereto and production and non-production
environments and platforms of the foregoing (collectively, the “S_oftware”)',

1.2.2 All health assessments, questionnaires, guidelines, clinical manuals, user
manuals, data, content, content rights, content libraries, courseware, training
materials, forms and templates, and health management and learning modules
developed, acquired, used or held for use in connection with the Sofcware and
related end user consents (co]lectively, the “Content”);

1.2.3 All tools, content management systems and reporting systems developed1
used or held for use in connection with the Business, if any (the “Tools”);

1.2.4` All web pages (dynamic or static), portals, web designs, layouts, web
libraries, business rules, algorithms, database structures and designs, engines,
t`rameworlts, scripts, specifications interfaces and links and any other technical
artifact relating to any of the foregoing Purchased Assets, and all URLs and
domain names held or used m connection with any of the foregoing (the “W_e_l_)
M’), including those on €.i§;‘i` ortin =.-. "

1.2.5 All work in progress by or for the Business, including any completed work
and work in progress and any third party connectors for the Business or at the
request of Seller (the “Worlc in ProBss”); '

1.2.6 All source code, object code, compiled code and other executables relating
to any of the foregoing, for all existing -platf`orms and environments, including the
current and all existing prior versions thereof, and all code annotations with
respect thereto (the “Code Base”);

1.2.'7 Al.l logs, manuals, doc\nnentntion, maintenance and support information
development infonnation., “as built” documentation, dowuloads, product
descriptions, product designs, testing data, research, and other technical or
engineering information and data, in whatever medium, with respect to any of the
Purchased Assets (“Technical Information” ;

1.2.8 'Ihe business, sales and technical iiles, customer or prospect ]ists,
marketing, advertising and promotional materials, incentive programs and the

  
 

 

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materials associated with them, telephone numbers and other business and
technical information and associated business practices of the Business
(“§us_iness Mogpation’ ;

1.2.9 All existing back-ups of any of the foregoing Purcbased Assets (“Back-
U_p_a”);

1.2.10 All other proprietary know-how, software and technology of Seller or a
Seller Party that is developed, used or held mr use principally by the Business,
including any software, portals, web assets and rights acquired by Se]ler (“Other
Technology”);

1.2.11 All patches, flxes, updates, enhancements, improvements, modi.tications,
extensions and derivative works of the Purchased Assets made or acqulre' d by
Seller, any Seller Party or their respective connectors and agents (the
“Improvements”);

l..Z 12 Subject to any limitations set forth in -
trademarks, logos, slogans and trade dress used m connection with the Business,
including any and all existing rights to “Med Manager” and “Med Manager
Mobile” in the context of the Business, and all the goodwill embodied therein
(“Brands” ;

1. 2. 13 'Ihe corporate or trade name “Preferred Physicians Healthcare A]liance,
L. C. ”;

 

1.2.14 A]l lutellectual Propcrty Rights embodied in or attendant to any of the.

Purchased Assets, including trade secret righls, copyrights and rights to patentable
inventions anywhere in and to the Sofl:ware, the Content, the Tools, the Web
Artifacts, the Code Base, the Work in Progress, and the Improvcments, and any
existing registrations, colmsel opinions, prosecution Eles and governmental
issuances with respect to any such Intellectual Property Rights, if any
(eo]lect`rvely, the “ll’ Right§”);

1.2.15 All inventions conceived, developed or first reduced to practice by or on
behalf of Seller or a Seller Party, or their respective contractors and agents,
relating to the Busiuess, and the lnte]lectual Property Rights attendant to or
- embodied m any of the foregoing anywhere (the_____n_s’ “Inventl _____ns");

1.2.16 All assignments and other grants of ownership or rights from employees
and other third parties relating to any Purchased Assets or the related lntel.lectual
Property Rights, including without limitation those set forth m "‘§il-.-`i-l_ia:"_ ~5'_-"»*"
hereto (the “nsisrnlnnl§");

1.2,17 The sole and exclusive right to iile for and prosecute any applications to
register or protect the lP Rights, all rights to claim priority, and to hold any
patents and other registrations which may be granted therefor, including any and
all divisions, continuations, in whole or in part, substitutions, renewals, reissues,
reexaminatioos, and extensions thereof, and all national foreign counterpart and
treaty applications claiming priority thereii'om;

   

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1.2.18 'I`he exclusive and sole right to sue and receive any recoveries for any pasr,
present and future infringement or misappropriation by others of the IP Rights or
the Inventions;

1..219 Al.l of _che*_ contra agreements, leases and similar arrangements
identified on »_'¢_.`ca“ -`

1.2.20 All copies and embodiments of the foregoing Pul’chased Assets, including
the media in which any of the Purchased Assets is embodied;

1 2. 21 The aniture, Furnishings and Equipment listed on _,‘__’_`__ '_ '
including servers, switches plus PBK, IVR, PC’s, laptops, printers, copiers, phone
sets and supporting soitware, all web servers where the code base resides (bnt
excluding any data, content, or software which reside there that is not part of the
Purchased Assets) (co]lectively, the “F\m)iture, FD`§M' gs and Eguipment”), in
their existing condition; and
1.2.22 All accounts receivable of Se]ler relating to any worlc to performed ati;er
Closing for which payment has not yet become due or for which payment has not
et been received, including the accounts receivable, as set forth on 311 -"‘ "-'

_F (the “Assigped Accoun§ Reeetvable” 1, and the right to invoice and collect

and retain any amounts collected with respect to the foregoing.

1.3 goluded Assets. Seller is not selling, conveying,
assigning or transferring any asset not identified above, bank accounts, accounts
receivable for work performed by Se]ler prior to Closing as set forth on Schedule 1 .3 (the
“Retained Accounts Receivable”), cash 1n hand, books and records of the Seller and
personal property of Mernbers listed on “t§gl;;i~th iii-itt hereto (the “Excluded Assets”)
(except to the extent set forth m Section 2 and Section 6 below)

 

 

 

 

 

1.4 No Assumption of Lg_a` br’hg' ’es, The Purchased Assets are
being transferred or otherwise conveyed and granted to Buyer nee and clear of all
Liabilities. Except with respect to obligations to be performed by Seller after the Closing
under o connection with the Assigned Contracts or as specifically identified in

"-" _' ""_"‘ Buyer does not and shall not assume any liabilities of Seller relating to the
Business or the Ptn:chased Assets or otherwise, whether accrued, absolute, contingentor
otherwise Without limitation of the foregoing, Buyer shall not be liable for any
Liabil'rties relating to or arising from (a) the ownersbip, possession, development, use,
sale, distribution licensing or modiiication of any of the Punchased Assets (or products
and services based on the foregoing) prior to the Closing by Seller or any of its agents,
contractors, employees, customers, collaborators and licensees, (b) any obligation or duty
under any contracts of Seller, except for obligations under the Assigned Contracts to be
performed sher the Closing under or in connection with the Assigned Contraets, (c) any
asset, property or right not expressly purchased by Buyer under this Agreernent, (d) any
taxes that are attributable or relating to the Purchased Assets or the Business or which
may be applicable because of Seller’s sale of the P\n:chased Assets to Buyer, (e) any debt
obligations, or (i) any claims by Seller’s directors, onicers, employees, shareholders,
members or agents relating to this Agreement or its performance or consummation, or

 

 

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any claims by any of them relating to or arising out of their employment or engagement
as contractors (including any modincation or termination thereot), any employment or
contractor agreement, or any liabilities arising out of or related to any employee benefit
plan, accrued vacation, unpaid salary or other entitlement

1.5 De]ive_ryj of Asscts; Baclt-Ups. Seller shall deliver, or shall \_,

cause to be delivered, to Buyer the Purchased Assets as of the Closing. Prior to Closing,
the Buyer and Seller shall cooperate to create Bacl~r Ups of the Software as deemed
necessary and appropriate by the parties. Such Back Ups shall be reviewed by the parties
prior to Closing to confirm that the sottware, data or content in such Back.-Ups have not
been comrpted and are in format agreeable to the parties. Such Back Ups shall be held
by Seller in escrow and delivered to Buyer along with the other Purchased Assets at
Closing.

1.6 Personnel Other 'I'ban the Members Whose Ern lo ent
Wi]l Be Govcrned By The Emplo§ent Ag§ments Set Forth 111 H. No
employees or other personnel are being transferred from Seller to Buyer as a part of this
Agreernent. Seller agrees that Buyer or Buyer’s affiliated entities may, in their sole
discretion, hire as an employee or engage as a contractor any or all the individuals or
contractors who have at any time in the past performed any work in connection with the
Business (the "Former Personnel”). To the extent any of these individuals is obligated to
Seller or a Se]ler Party to any confidentiality or non-disclosure agreement, non-compete
restriction, or Intellectual Pmperty Rights agreement, Seller and Seller Parlies and their
respective successors covenant and agree that itfthey will not seek to prohibit any such
hiring or engagement on the basis of such agreements/restrictions or to enforce the
provisions of such agreements/restrictions to prevent, limit or curtail the use of or the
work by such personnel with respect to Buyer, Buyer’s affiliates or their respective
successors, or the disclosure of any information or rights that related to the Business or
the Purchased Assets. '

1.7 Non-Assi@_able Contracts. 'l`o the extent that the
assignment or transfer of any of the Assigned Contracts to Buyer pursuant to this
Agreement shall require the consent of any client, this Agreement shall not constitute a
contract to assign the same or an attempt at assignment or transfer if, absent such consent,
such transfer would constitute a breach of such Contract, as more fully described in
paragraph 2 below. Seller and Buyer shall cooperate and agree to use their respective
reasonable best efforts to obtain any consent necessary to such assignment or transfer
after Closing and to collect all amounts due pursuant to such Assigned Contraets. Inthe
event, the parties determine that they are tmable to obtain such consents, the parties shall
cooperate in terminating such Assigned Contract (the “Terminated Contract(s)”);
provided, that during the period between Closing and termination, Buyer shall service all
such Assigned Contracts and be entitled to all revenue related thereto; and, provided
further, that Buyer shall tenninate such Assigned Contract within 90 days of Closing
unless at Buyers request, Seller agrees to extend such 90 day period, in Se]ler’s sole
discretion 'I'he Seller shall indemnify and hold the Buyer harmless with respect to E.fty
percent (50%) of any loss of revenue incurred by Buyer for services rendered by the

 

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' Buyer under Terminated Contracts after the expiration of one (1) month after the date of
Closing as a result of a claim by any client to a Terminated Contract that has not
consented to the Assignment (where such consent is required pursuant to such
Terminated Contract) that the absence of such consent negates the C]ient’s obligation to
pay for the services provided by Buyer under the Terminated Contract alter Closing and

until the Terminated Contract is terminated The Buyer shall provide the Se]ler and \J

Members with written notice of each claim for indemnification under this Section 1.7 and
the Seller shall remit to Buyer the indemnification amount with fifteen (15] days of the
date of such notice. Buyer and Se]ler shall cooperate and shall take all reasonable
measures which the Buyer and Se]ler deems necessary and appropriate to collect all
amounts due under the applicable Termi.nat`ed Contracts including any negotiations and
litigation, if applicable. The Buyer and the Se]ler shall share all costs including legal fees
incurred in connection with the collection of the amounts due and shall share equally in
all recoveries

1.8 Transfer of Title. Title to the Purchased Assets shall
transfer to Buyer simultaneously with the Closing.

2. PURCIE[ASE PRICE.

2.1 The Purchase Price. The consideration for the Purchased
Asscts (the “Purchase Price”) shall be as follows:

(i) animat_LClpa`n_a- Eisht Hundr=d FOrfY-Nine
Thousand Sixty- -One Dollars and 241‘100 ($849, 061. 24) (the “Closing Paymgt”). The
Closing Payment shall be payable by Buyer to Seller`11_1 casb, cash equivalents or by wire
transfer of immediately available hinds at Closing. Seller and each of the Members
hereby consents and agrees that (a) the Closing Payment shall be sent to the Seller’ s
counsel, Moran Kidd Lyons Johnson & Berkson, P. A.(“Se]ler’s Counsel”), for deposit 1n
Se]ler’s Cotmsel’s client trust account as identified 111 \‘- _L;L"l Tl“}“§litilj and (b) payment
made by Buyer as set forth herein shall constitute full payment of the Closing Payment
regardless of how the Se]ler and the Members elect to further distribute or allocate the
Closing Payment and without liability to Buyer with respect to any action or omission by
Se]ler’s counsel with respect to the amounts deposited with it.

 

(ii) Post Closing Paments Conditioned U@n Receipt of
Consent tg Assiggment of Assumed Contracts. The Buyer shall pay to the Seller
additional payments on account of the Purchase Price in an aggregate amount not to
exceed One Miliion 'I‘wo Hundred Thousand Nine Hundred 'Ihirty-Ei n Dollars and
761100 (31,200, 933. 76) a such ames as (1) the sellers clients listed on sandra '.
execute and deliver to Bu er a Consent to Assignment of Contract m the form attached
hereto as don (ii) m the case where consent is not required as set forth m
Schedule 2.l(ii), at such time when Seller delivers the Notice of Assignment in the form
attached hereto as Appendix Four. '].`he amount of the additional purchase price payable
upon the execution and delivery of each Consent to Assignment of Contract or the Notice

  
   

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of Assignment, as applicable, is set forth in Column 4 of Schedule 2.1(`1i) and shall be
payable within live (5) days of the date Buyer receives the assignment or the notice is
sent, as applicable. No additional payments shall be paid with respect to any consent
received after the expiration of three (3) months from the date of Closing.

(iii) E§ggt_l_t. Subject to Section 6.ll and the set-oii`s
permitted by this Agreement, as additional consideration for the purchase of the
Purchased Assets, Buyer shall pay to Seller a payment (except with respect to the
'I'RICARE contract as hereinaher provided) equal to thirty-six cents ($ .36) per Member
per year for each net new Member covered by or under each Health Care Plan, 'Ihird
Party Administrator, Employer or other client for which the Buyer or Buyer’s parent,
sobsidia.ry, or other aii:iliated entity and their successors and assigns, provides case
management, utilization management disease management health rislc appraisal, self
management tools, wellness or any other services utilizing the Soii:ware (the “Earnout”)
during the Eamout Period. 'Ihe Eamout Period shall commence on the date of Closing
and shall end on the third (B'd ) anniversary of the date of Closing. The Eamout shall be
paid annually within sixty (60) days aher the expiration of the first (1st , second (Z“d) and
third (3’°) years of the Earnout Period by Buyer to Seller in cash, cash equivalents or by
wire transfer of immediately available tiinds. The Health Plans 'Ihird Paity
Administrators, Employers and other entities listed on M@l ‘ (“Assigned
Contracts”) shall he excluded from the computation of the Eai:uout. lf the Buyer is able
to utilize the Software iii the performance of its contract with 'I'RICARE the Buyer will
pay the Seller a iixed fee in the amount of One Hundred Thousand ($100,000) Dollars on
April 1, 2011 and if'I'RICARE renews the contract for the second option year, the sum of
Seventy-Five Thousand ($75,000) Dollars on April 1, 2012. The Buyer (and its
successors and assigns) shall use all reasonable efforts to market and sell utilization
management case management disease management or wellness services utilizing the
Sottware to new clients and existing clients of Buyer (and the Buyer’s parent, subsidiary
and afliliate entities or their successors or assigns). Notwidistandiiig the fonegoing, the
Purchaser shall continue to oH`er and provide utilization management case manageth
and disease management services utilizing the software which it licenses from Med
Decision lnc. and will transition to the Med Manager Sottware Supported Services only
with the consent of the client A list of Buyer’ s client’ s currently irlilizing the software
licensed nom Med Decision lnc. and the contract renewal date for each such client is

attached hereto as “*“i"r:wt l*t“'i's,

 

   

(iv) instructions for Pamgent of Eai:nout Amounts. The Seller
and each Membcr consent and agree that the following terms apply with respect to the

payment of each Annual Eai:nout Payments:

(a) Until such time as Buyer or its successor to this Agreement
receives a written notice executed by Seller and each Member directing
payment otherwise (the “Earnout Pavment Instruciion Notice”), each
Annual Earnout Payment shall be sent to the Se]ler’s Counse for de- sit
in Seller’ s Connsel’s client trust account as identified iii -» l ` " " ;" ‘ `

 

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(b) lt` and when Buyer or its successor receives an Earnout Payment
lustruction Notice, Buyer or its successor shall make payment of the
Annual Earnout Payments after the date of receipt by Buyer of the notice,
to the payees and accounts expressly stated in the written notice (provided
' that the payees must be one or more of the Members or, if a Member is

deceased, an heir of the deceased Member, and not creditors or other third `\\J

parties).

(c) ln the event that at any time during the Earnout Period Seller shall
no longer be iii existence, the Members hereby consent and agree that an
Eainout Payment lustruction Notice shall be sufficient if it is only executed
by the three Members or their respective heirs or legal representatives,
provided that the Member or heir or legal representative certifies in the
notice to the fact that the Seller is no longer in existence

(d) Each of Seller and the Members covenants and agrees that Buyer
shall not be responsible or liable to Seller or any Meinber or their spouses,
heirs, assigns or legal representatives with respect to any disputes between
or among Se]ler and any Members regarding their respective rights to or
shares of the Earnout or for making payments of the Earnout in accordance
with the instructions provided pursuant to this Agreement, and that Buyer
or its successor shall not be required to validate the signatures of the Seller
or the Members (or their heirs or legal representatives) in any Eai'nout
Payment InslIuction Notice and shall be able to rely on the information
contained on the face of such notice.

(e) In the event Seller andfor one ormore Members dispute an Ear'nout
Payment Instruction Notice provided to Buyer or its successor, Buyer shall
have fulfilled its Earnout payment obligations by depositing the Eamout
amounts then due with Seller’ s Cou.nsel or in a bank escrow account until
all the Seller and all the Members send an executed joint Eaniout Payment
lnstruction Notice or provide a Enal order ii‘om a court or arbitration panel
directing the payment and disposition of the funds.

(t] Seller and each Member consents and agrees that payment made
by Buyer or its successor as set forth in this Section shall constitute full
payment of the Earnout amounts regardless of how the Seller and the
Members elect to further distribute or allocate the payments and without
liability to Buyer or its successor with respect to any action or omission by
Se]ler’s Counsel with respect to the amounts deposited with it.

  

2. 2 Allocation of Pcrchase Price Buyer and Seller z -¢ ee to
allocate the Purchase Price among the Purchased Assets as set forth on » § -= _-\_°_"
The parties shall (a) prepare each report relating to the fcdcral, State, local and dther tail
consequences of the purchase and sale contemplated hereby in a manner consistent with

 

 

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such allocation schedule and (b) take no position in any tax tiling, return, proceeding
audit or otherwise that is inconsistent with such allocation

' 2.3 Taxes and Fees. All. sales taxes, transfer taxes or
recordation and filing fees, if any, which arise as a result of the conveyance of the

Purchased Assets by Seller to Buyer hereunder shall be borne by Se]ler. \_,

2.4 Seller’s Audit Rigl?_rts. Se]ler shall have the right, at Se]ler’s
expense, to have an audit of Buyer’s relevant books and records conducted by an
independent certified public accounting linn for the purpose of determining that the
amounts owed to Se]ler pursuant to Sections 2.1(i.i) and (iii) have been correctly
calculated and paid by Buyer. The audit may be conducted not more than once in each
calendar year and may review information for the previous payment period. The auditor
shall be bound to a coniidentiality and non-disclosure agreement reasonably satisfactory
to Seller and Buyer. The audit shall be conducted during Buyer’s regular business hours
at the location where the books and records are routinely kept. Information learned from
the audit may only be used to ascertain compliance with the payment obligations
hereunder and may not be disclosed or used for the benefit of any other person or entity.
To the extent that confidentiality provisions owed to customers or other third parties
prevent the disclosure of relevant contracts or other information requested as part of the
audit, Buyer will provide such information and documentation as it may reasonably
provide without breaching such confidentiality obligations. If additional information or
documentation is needed, Buyer will make a reasonable and diligent effort to obtain the
consent of the third party to the provision of the information or documentation In the
event that Buyer is unable to obtain such consent, the parties shall cooperate with each
other and the auditors to explore all reasonable alternatives to provide tire auditors the
information necessary to perform the audit contemplated by this Section 2.4. Under no
circumstances will Buyer be required to disclose protected health information or other
personally identiiiable information of third parties in connection with an audit

3. REPRESENTATIONS A.ND WARRANT[ES OF THE
S LLERANDTHELIEMBERS.

3.1 Se]ler hereby represents and warrants to Buyer that:

3.1.1 Organization. Seller is a limited liability company duly
organized and validly existing in the jurisdiction of its formation Seller is duly qualified
to do business and is in good standing under the Laws of each state or other jurisdiction
in which either the ownership or use of the properties owned by it, or the nature of the
activities conducted by it, requires such qualification Seller has all the requisite power
and authority to enter into and comply with its obligations under this Agreement and to
convey the Purchased Assets to Buyer pursuant to this Agreernent.

3.1.2 Authorizatiog; Enforceabi.li§[. The execution1 delivery and
performance of this Agreement and all of the documents and instruments required hereby

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by Se]ler are within the power of Seller and have been duly authorized by all necessary
action of Se]ler and the Members. 'I'his Agreement is, and the other documents and
instruments required hereby will be, when executed and delivered by Se]ler, the valid and
binding obligations of Seller, enforceable against Seller in accordance with their
respective terms, except to the extent that the enforcement thereof may be limited by

barrlcruptcy, insolvency, reorganization moratorium or similar Laws of general \

application affecting creditors" rights generally and the application of general principles
of eqrr`rty. Se]ler has‘all requisite power and authority to own or lease and operate its
properties and assets and to carry on the Business as it is now being conducted

3.1.3 No Violation or Conflict. Except as set forth on `__`__?iii_‘ii_¥if
W;, (i) the execution, delivery and performance of this Agreement by Se]ler and, to
Se]ler’ s best knowledge, by each Member does not and will not contlict with or violate or
result ln a breach of the terms, conditions or provisions of any agreement document or
instrument to which Seller or a Member is a party or by which Seller or a Member is
bound and (ii) no consent of, registration, declaration or filing with, or notice to, any third
party, court, or Governmental Entity is required to be made or obtained by or with respect
to Se]ler or` the Members in connection with the execution, delivery and performance of
this Ageernent or the consummation of the transactions contemplated hereby, including
the assignment of the Assigned Connacts.

  

3.1.4 Ca_.pitalization. The Members are the sole owna's of any
membership interests, equity, warrant, or other ownership interests in Se]ler and there
have not been any other members, owners, equity holders, or warrant holders at any time
since the creation of Se]ler. There are no outstanding or authorized rights, options,
warrants, convertible securities, subscription rights, conversion rights, exchange rights,
rights of Erst refusal, or other agreements or commitments of any kind that could require
Se]ler to issue or sell any mernbership, equity or ownership interest to any third party or
that a third party be oli`ered the right or opportunity to purchase any of the Purehased
Assets prior to the Closing

3.1.5 Title to ppg gom` 'gn of flawed Msets. Se]ler owns
good, valid and marketable title to all of the Purchased Assets, free and clear of any and
all Liens and conveys the Purchased Assets to Buyer free and clear of any and all Liens.
The Furniture, Furnishings and Equiplnent shall be sold “as is” “where is”.

3.1.6 fig cial Infonnation. 'Ihe current and historical inancial
information set forth in Schedule 3.1.6 (the “Financial Inform_ation”) concerning the
Business provided by Seller to Buyer in connection with the transactions contemplated
herein, is accurate and complete in all material respects, and fairly presents the Enancial
position of the Business as of the dates reflected therein and the results of operations for
the periods reflected therei.u.

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3.1.7 Liti g ation. Except as set forth on `Iihr.rit‘ ” there is
no suit, action, investigation or Proceeding pending, or, to the best knowledge of Se]ler,
threatened against or affecting Seller or any Member that relates to or involves the

  

 

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Business or any of the Purchased Assets, or which, if adversely decided, would adversely
impact Buyer’s ability to own or use the Purchased Assets after the Closing.

3.1.8 Approvals. Except as set forth on S’“c`)li‘le"diil’éii§HiiR neither
Seller nor any Member is required to submit any notice, report, or other iiling, and no
consent, approval, or authorizations are required by any person, entity or Governmental \»
Entity in connection with its execution or delivery of this Agreernent or the
consummation of the transactions contemplated hereby.

3.1.9 Taxes. There are no Liens for Taxes upon the Purchased
Asset or properties of the Business or Se]ler. No federal, state, local or foreign audits,
review, or other actions (“Audits”) exist with regard to any Taxes or Tax Retums of
Seller, and Seller has not received any notice of such an Audit. Se]ler:

 

(a) has duly and timely filed (or there has been filed on
its behali) with the appropriate Govemmental Entities all Tax Returns required to be filed
by it, and all such Tax Returns are complete and accurate;

(b) has timely paid all Taxes due ii'om Seller (whether
or not set forth on any Tax Return);

(c) has complied in all material respects with all
applicable Tax Laws relating to the payment and withholding of Taxes (including
withholding`of Taxes pursuant to Sections 1441, 1442, 3402 and 4999 of the Code and
employment withholding Taxes) and has, within the time and manner prescribed by law,
withheld and paid over to the proper Government Entity all amounts required to be
withheld and paid over under all applicable Tax I..aws;

(d) except as described in S`chevvls%lsc&) has not
requested any extension of time within which to file any Tax Retum in respect of any
taxable year which has not since been filed, and no outstanding waivers or comparable
consents regarding the application of the statute of limitations with respect to any Taxes
or Tax Returns has been given by or on behalf of Seller;

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(e) is not a party to or bound by, and does not have any
obligation under, any Tax sharing agreement Tax indemnification agreement or similar
contract or arrangement;

(n has amy paid ea rex deaeieheiee which have been \\,

claimed, proposed or asserted against Seller;

 

(g) except as desclib=d’ m see '*-;:;;;-
incurred any liability for Taxes other than ln the ordinary course since December 31,
2007;;311;1

(h) is not, nor has it at any time in the last five (5) years
been, a “United States real property holding corporation” within the meaning of Section
897 of the Code.

 

Seller rs not a party to any employment agency or commission agreement with any of its
employees, nor is it subject to any collective bargaining agreement and there are no
claims or suits arising out of the employment of Se]ler’s employees pending or, to the
knowledg§§:éseller threatened m writing against Seller or a Melnber. Bxcept as set

 

presently have ineifect, any employee welfare, pension or profit-sharing plan, as defined
in the Employee Retirement Income Sectuity Act of 1984, as amended (“ERISA”). All
payments required to be made to any such plans by Seller have been paid in full and no

unfunded Liability exists with respect to any such plans as of the Closing.

 

3.1.11 Contracts. Except as set forth on =`/Lll_i;l'.»=' ' ' l
not in default under any of the Assigned Contracts, nor has any event occurred, which,
through the passage of time or the giving of notice, or both., would constitute a default
under any of the Assigned Contracts, or cause the acceleration of any obligation of Seller
or result in the creation of any ]`_.ien, charge or encl.nnbrance upon any of the Purchased
Assets. Each Assigned Contract is valid, binding and in full force and effect and
enforceable in accordance with its tenus. Except with respect to fees payable by
customers in the ordinary course, there are no payments, royalties, fees or other amounts
due to or from Se]ler or any Member or to from the other contracting parties
thereunder. Except as described in h§§i@f:§-§FF§§H there is no dispute known to Seller
regarding the scope of such contract, or performance or obligations under such contract
Seller has provided to Buyer a full and complete copy (including all amendments, side
agreements and waivers) of the Assigned Connacts. The Assigned Contracts are the only
material contracts or agreements of Seller that are used in connection with the Business
or that relate to or impact the use by Seller of any of the Purchased Assets. No contracts
that are necessary to or useful in connection with the conduct of the Business prior to
Closing or the use of the Purchased Assets after the Closing is held in the name of any
Member. Except for`the Assigned Contracts, there are no other material contracts that

 

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relate to or impact (including in the event of a breach) the use by Seller or by Buyer of
any of the Purchased Assets, including contracts or agreements of the following type:

(a) consulting development procurement
collaboration, trial source code escrow customer, interface and confidentiality

agreements; " z ’ \

(b) licenses, licensing arrangements, non-
competes, covenants not to sue, and other contracts providing for or limiting in any way,
in whole or in part the transfer, use, modi.tication, manufactm'ing, sale, distribution1
marketing or export of any of the Purchased Assets or Inte]lectual Property Rights;

(c) maintenance and support agreements;

(d) outstanding orders and other contracts for
the purchase, supply or sale of materials, supplies, products or services; _

_ (e] any contract wherein or whereby Seller has
agreed to, or assumed, any obligation or duty to warrant indemnify, reimburse, hold
harmless, guaranty or otherwise assume or incur any obligation or ]`_.iability, or provide a
right of rescission or covenant not to sue or assert rights, with respect to the infringement
or misappropriation by Seller or any other person or entity of the intellectual Property
Rights of any person or entity that relates to any of the Purchased Assets;

(t) joint venture, partnership and similar
contracts involving a sharing of profits or expenses; and

(g] asset purchase agreements and other
acquisition or divestiture agreements

 

3. 1. 12 lnsurance. ' '-:

complete and accurate schedule of all insurance policies held by Seller with respect to the
Business which are now in full force and effect showing the identities of the insured
'party, the name of the insurer, the nature and amount of coverage, and all pending claims.
All insurance policies maintained by Se]ler are current and in good standing, and no
pi'emiums are past due. Seller has not been advised of the cancellation or intended
cancellation of any insurance policy or of the intention of any insurer or underwriter to
refuse to renew any of such insurance policies at premiums approximately the same as
the premiums currently paid by Se]ler.

3.1. 13 Absence of Undisclosed I..iabiliti§. Except set forth on

- --' ’- there is no claim, obligation., liability or commitment whether

absolute, accrued, contingent or otherwise and whether due or to become due, arising out
of otherwise directly or indirectly related to the Purchased Assets or the Business.

 

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3.1.14 Compliance with Laws; Goyernmental Approvals. Seller
is in compliance with all Laws, regulations, orders, ordinances, codes, injunctions and
decrees applicable to the Purchased Assets or the Business. Se]ler has conducted the
Business in compliance in all respects with all federal, state and local Laws and orders
(governmental or judicial), judgments, show cause demands or decrees outstanding which

impact or regulate the ownership, possession licensing and use of the Purchased Assets. \J

All consents, approvals, or authorizations required by any Governmental Entity necessary
for the conduct of the Business as conducted on and before the Closing have been duly
obtained and are in full force and effect and Se]ler is in compliance with each of such
consents, approvals or authorizations held by it.

3.1.15 Solvency. Seller is, after giving eEect to the transactions
contemplated hereby, solvent, able to pays its debts as they become due in the usual
course of business, will have assets having a value, both at fair valuation and at present
fair saleable valne, greater than the amount required to pay its debts as they become due
in the usual course of business, and will not be rendered insolvent by the execution,
delivery or performance of this Agreement or by the completion of the transactions
contemplated hereunder. To the best knowledge of Se]ler, no Person is contemplating the
filing of any state or federal banlo:uptcy or insolvency petition against Se]ler. Seller is
not currently the subject of any bankruptcy or similar proceeding under any state or
federal law and none of its property is under the jurisdiction of any bankruptcy court or
other court having similar jurisdiction

3.1.16 Government Contcacts. 'Ihere are no contracts, or other
arrangements or undertakings between Seller and any Governmental Entity granting
rights to or reserving rights in any of the Purchased Assets to or by such Govcrnmental
Entity. No part of the Sottware has been developed or_ enhanced under a contract with a
Governmental Enlity or with funds provided by a Govemmental Entity.

3-1-17 Mpe_rrr

(a) Se]ler is the sole and exclusive owner of all Intellectual
Property Rights in and to the Purchased Assets, free and clear of all liens and claims
from third parties

' (b) Seller has the right to assign, transfer and convey to Buyer
the ]P Rights.

(c) There are no registered copyrights, pending patent
applications, issued patents, registered trademarks or pending trademark registration
applications anywhere, in the name of Seller or any Member or which is otherwise
beneficially owned by Seller or any Member that covers any of the Purchased Assets

(other than the Equipment) or the use thereof.

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(d`) The Purchased Assets do not infringe the copyrights or
patents, misappropriate the trade secrets or otherwise violate any other intellectual
Property Rights of any third party, and the assignment and sale of the Purchased Assets to
Buyer as of the Closh:ig and the use by Buyer thereafter in the manner in which they have
been used as of the Closing will not cause Buyer to infringe, misappropriate, or otherwise

violate the Intellectual Property of any third party. \\V

(e) 'Ihere are no proceedings or actions pending as of the
Closing before the United States Patent and Trademark Ofiice, the United States
Copyr:ight Oflice, the Federal Trade Commission, or equivalent authorities anywhere in
the world related to any of the Purchased Assets or the Intellectual Property Rights
therein

(t) Seller is not 'aware of any claim of ownership or
inventorship by any third party of any aspect or component of the Purchased Assets or
the Intellectual Property Rights (other than with respect to Equ:ipment). The Members,
Danny Wardey, lerome Ridenauer, Violetta Haag and Robert R.ideout are the only
entities and individuals, whether employees or contractors of Seller, who have been
involved in ' the development or creation of the Purchased Assets (other than the
Furniture, Furnishings, Equipment). The individuals identified above will execute and
deliver to Bu er on or before Closing, a confirmation assignment in the form attached

. hereto as h, have no ownership right, title or interest in or to the Software,
IP rights, Inventions or any other work product created by them while working for the
Seller.

(g) To the extent that any of the Purchased Assets (other than
the Equipment) has been developed or created by any person or entity, other than Se]ler,
Se]ler has the unrestricted right to grant and convey the rights and title granted to Buyer
under this Agreelnent to all such Purchased Assets by operation of law or by valid
assignment of any such rights. Seller has secured valid written assignments of
Intellectual Property Rights from all third parties and consultants who contributed to the
creation or development of any aspect of the Purchased Assets (other than the

Equ.ipment). '

(h) Except for the rights to use granted in the Assigned
Contracts, Se]ler or any Member has not transferred ownership of or granted any license
or other right to use or authorized the retention of any rights to use or agreed to any
limitation in the use of any Purchased Assets to or for the benefit of any other person or

enoty.
(i) To the knowledge of Se]ler, no person or entity is

infringing or misappropriating any Intellectual Property Rights associated with the
Purchased Assets (other than the Equipment).

(j) Seller has taken commercially reasonable steps to protect
its rights in its confidential information and trade secrets relating to the Purchased Assets.

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Seller is not disclosing or assigning to Buyer any proprietary or conidential information
of a third party that it does not have the right to disclose or assign

(lc] `Neither this Agreelnent nor any transactions to be
accomplished pursuant to this Agreement will result in Buyer granting any rights or

licenses with respect to the ]P Rights to any person or entity pursuant to any contract to `\_,

which Se]ler is a party, except for such use lights expressly granted in the Assigned
Contracts.

(1) Except as set forth in Schedule 3.1.17(1), the Sottware and
the Code Base do not use or include any freeware or open source soi‘l:ware.

3.1.13 I~nPAA. sensatt`tat;"tna identities an the business
associate agreements (BA.As) and other similar agreements to which Se]ler is a party or to
which it is bound which pertain to the collection, storage, analysis, review or
transmission of protected health information (“ELH”) as defined in the Health lnsurance
Portal_:ility and Accountability Act and enabling regulations (“HIPAA”). Se]ler is in full
compliance with its obligations under such agreements, under HlPAA and under
applicable privacy policies with respect to PI-II that is has collected, stored, analyzed,
reviewed or transmitted, and there have not been any data breaches with respect to any
such PI-iI. Seller has all necessary rights and consents to transfer the PHI in its
possession to Buyer. There are no claims by any third party against Seller or any
Member relating to the PI-[[ referenced above and to Se]ler’ s knowledge there ls not a
meritorious basis for any third to make such a claim.

3.1.19 Accounts Receivable. The Assigned Accounts Receivable
represent valid obligations arising from sales actually made or services actually
performed in the ordinary course of business The Assigned Accounts Receivable are
current and collectible in the ordinary course of business

3.1.20 Bulk Sales. 'I`here are no bulk sales or bulk transfer Laws
applicable to the sale and transfer of the Purchased Assets.

  

3.1.21 URAC A¢mdiraaons. signan identities the
U'RAC Accreditations which have been assigned to the Seller Seller’ s representations
contained m its applications for accreditation were true and correct when made and are
true and correct as of the date of this Agreanent. Seller shall use its best effort to transfer
Seller’s certi.ticat:ions of accreditation to the Purchaser or its parent, Keystone Peer
Review Organization, Inc. Seller makes no representations that the URAC
Accreditations are assignable or transferable to Bu er. Where applicable, the Consent to
Assignment of Contr‘act attached hereto as d shall contain a waiver of any
UR.AC Accreditation requirement in any Assigned Contract for a period of no less than

nine (9) months after the date of Closing.

3.2 By the Members. Each of the Members represents and
warrants to Buyer that: (i) the member has all necessary rights and authority to enter into,

 

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execute and deliver this Agreement and perform the obligations hereunder which pertain
to such Member and the execution and delivery of this Agreement by such Member does
not conflict with any agreement to which the Member is bound; (ii) no spouse, heir and
personal representative of, or other individual related to, such Member has any right, title
or interest in or to any of the Purchased Assets and the consent, authorization or approval
of any such other individual is not required for the transactions contemplated hereunder
to be eti`ective and valid or for the Member to execute, deliver and perform under this
Agreement; and (iii) the Member does not own now or have a right to own at any time
hereinafter any rights or title in or to any of the Ptnchased Assets. Members represent and
warrant that all the representations and warranties of the Seller are true and correct, and
that Members will cause the Seller to comply with its covenants and other obligations
hereunder '

3.3 Full Disclosure. Seller and each of the Members represents
and warrants to Buyer that no representation or warranty by such party contained in this
Agreement or any information in any schedule or instrument furnished or to be furnished
by Seller or such Member pursuant hereto, contains any untrue statement of a material
fact or admits or fails to state any material fact necessary in order to make the statements
contained therein not misleading.

4. REPRESENTATIONS A`ND WARRANT[ES OF THE
BUYER.

Buyer represents and warrants to Seller that

4.1 Organization. Buyer is_.a corporation duly organized and
validly existing and in good standing in the jurisdiction of its formation. Buyer has all
the requisite power and authority to enter into and comply with its obligations under this
Agreement.

4.2 Authorization,' Enforceabi]i'g{. The execution, delivery and
performance of this Agreement and all of the documents and instruments required hereby
by Buyer are within the corporate power of Buyer and have been duly authorized by all
necessary action of Buyer. This Agreement is and the other documents and instruments
required hereby will be, when executed and delivered by Buyer, valid and binding
obligations of Buyer, enforceable against Buyer in accordance with their respective
terms, except to the extent that the enforcement thereof may be limited by bankruptcy,
insolvency, reorganization moratorium or similar Laws of general application affecting
creditors’ rights generally and the application of general principles of equity.

4.3 No Violation or §§onflict. 'Ihe execution delivery and
performance of this Agreement by Buyer does not and will not conflict with or violate the
articles of organization or operating agreement of Buyer or coni']ict with, violate or result
in a breach of the tenns, conditions or provisions of, any agreement, document or
instrument to which Buyer is a party or by which it is bound

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4.4 Full Disclosure. No representation or warranty by Buyer
contained in this Agreement or any information in any schedule, instnnnent, or document
furnished or to be furnished by Buyer pursuant hereto, contains any untrue statement of a
material fact or admits or fails to state any material fact necessary in order to make the

statements contained therein not misleading \J

5. CLOSING; CLOS]NG DEIJVERABIES

5.1 Closing. The purchase and sale provided for in this
Agreement (the “Closing”) will take place at the oiiice of Buyer’s connsel. Moran Kidd
Lyons J`ohnson dc Berkson, P.A., 111 North Orange Avenue, Suite 1200, Orlando, FL,
commencing at 9:00 a.m. local time on or before .luly 1, 2010 (the “Closing") or on such
other date as the parties may mutually agree.

5.2 Seller Deliveries at Closg' g. At the Closing and as al
condition to the consummation of the transactions contemplated herein, Seller and

Members shall deliver, or cause to be delivered, the following to Buyer:

(i) A. Bill of Sale signed by Seller in form and substance
reasonably acceptable to Buyer;

(ii) An Assignment and Assumption agreement for the

Assigned Contracts (the brassth and Assump_tion AMent”) signed by Seller in
form and substance reasonably acceptable to Buyer and Seller;

(iii) Resolutions of Seller’s members and - managers,
approving the execution and delivery of this Agreement, all related documents and
agreements, and the transactions contemplated thereby, certified by an oiiicer or manager
of Seller, in form and substance reasonably acceptable to Buyer;

__ _A copy of each consent, registration, declaration, filing
or notice set forth on ` "- - . in form and substance reasonably acceptable to
Buyer, including the consents to assign the Assigned Contracts

  

(v) The Purchased Assets;

(vi) Documentation required by the relevant domain name
registrar to transfer to Buyer the URLs and domain names that are part of the Web
Artii`acts;

(vii) Payoff letters f:om each of the creditors of Seller who
have a Lien on the Purchased Assets (“Seller Payee’ , in form and substance reasonably
acceptable to Buyer, setting forth the amount owed by Se]ler to each Seller Payee and
agreeing that upon receipt of the amounts owed to it, such Seller Payee will immediately
release and forever discharge any and all liens it may have had in or to any of the

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Purchased Assets and Wil.l take such action as to promptly cause any and all B]ings or
documentation to reflect such release and discharge of any and all Liens, including
without limitation filing UCC-3 termination statements within five (5) business days of
receipt of the amounts owed to such Se]ler Payee;

(viii) A good standing certificate issued by the seaman of
State of the State of Florida with respect to Seller issued within 5 business days prior to
the Closing;

(ix) A quitclaim assignth of all IP Rights to the
Purchased Assets signed by each Member in form and substance reasonably acceptable to
Buyer;

(x) nw Employment Agreements set form in m
m executed by Cabrera and Noeclcer respectively.

(xi) All such other documents and instruments as may be
reasonably requested by Buyer to effectively convey title to the Purchased Assets to it
and otherwise consummate the transactions contemplated hereby.

5.3 Buyer Deliveries at Closing. Buyer shall deliver to Seller at
Closing:

(i) the Clo sing Payment;

(ii) the Assignnient and Assumption Agreement signed by
Buyer; .-

 

(i.i.i) The Eznployment Agreements set forth in .“-;-' .' -'
executed by Cabrera and Noecker respectively; and

(iv) Resolutions of Buyer’s Board of Directorsfmanager
approving the execution and delivery of this Agreexnent, all related documents and
agreements, and the transactions contemplated thereby, certiiied by an oB:icer or manager
of Buyer, in form reasonably acceptable to Se]ler.

6. ADDITIONAL COVENANTS OF TH`E PARTIES.

6.1 Further Assurances. From and after the Closi:ng, each of
the parties agrees, at the other parly’s request and without timber consideration to
execute and deliver to such party, all such additional or continuatory instruments, reports
and acknowledgments as may be reasonably requested by the other party, and to take any
and all such other actions as the other party may reasonably request, to evidence or
perfect the sale, assignment transfer and conveyance to Buyer of the Purchased Assets,
and to vest title thereto in Buyer, and to otherwise fulfill its obligations hereunder.

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